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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

     UNITED STATES OF AMERICA

     -vs-                                                          Case No. 6:08-cr-118-Orl-DDD-DAB

     GEUNNET CHEBSSI
     ___________________________________

                                     REPORT AND RECOMMENDATION

     TO THE UNITED STATES DISTRICT COURT

               This cause came on for consideration without oral argument on the following motion filed

     herein:

                  MOTION:        LETTER MOTION TO ADD SECOND ESSENTIAL
                                 ELEMENT OF CRIME IN CRIMINAL JUDGMENT (Doc.
                                 No. 1143)

                  FILED:      April 17, 2014
                  _____________________________________________________________

                  THEREON it is RECOMMENDED that the motion be GRANTED.

               Defendant Geunnet Chebssi, a non-citizen appearing pro se for present purposes, seeks to alter

     the language of the criminal judgment issued in this case, to better persuade Immigration officials to

     grant her discretionary relief from deportation. The request follows a successful similar request made

     by co-defendant Akhil Baranwal (see Docs. 1130, 1133, 1139 and 1141). The United States has filed

     no response or objection. For the reasons that follow, it is respectfully recommended that the

     motion be granted.

               Background

               The grand jury returned a Superseding Indictment and a Second Superseding Indictment

     charging this Defendant with Drug Conspiracy (Count 1), and one count of aiding and abetting the
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     distribution of controlled substances, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. §2 (Count

     Eighteen) (Docs. 157, 279). Following trial, a jury found this Defendant not guilty as to Count 1, and

     “guilty of the crime Distribution of a Controlled Substance as charged in Count 18 of the second

     Superceding Indictment.” (Doc. 564). On August 5, 2009, the district judge entered a Corrected

     Judgment (Doc. 817), which stated that this Defendant “was found guilty on Count 18 of the Second

     Superseding Indictment” and adjudicated Defendant guilty of distribution of controlled substances,

     in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. §2. A Second Corrected Judgment was issued

     September 23, 2009, to correct the U.S. Marshal number (Doc. 906). Defendant’s appeal was

     unsuccessful, and she was incarcerated, per her sentence.

            According to her motion, Defendant completed her sentence in February, but is presently

     incarcerated under ICE supervision and facing deportation proceedings due to her conviction in this

     matter. She maintains that she is a long time permanent resident (over 40 years) and all of her family

     members are in the United States, including her husband and children.

            Discussion

            As noted by the United States Supreme Court:

            Under the Immigration and Nationality Act (INA), a noncitizen convicted of an
            “aggravated felony” is not only deportable, 8 U.S.C. § 1227(a)(2)(A)(iii), but also
            ineligible for discretionary relief. The INA lists as an “aggravated felony” “illicit
            trafficking in a controlled substance,” § 1101(a)(43)(B), which, as relevant here,
            includes the conviction of an offense that the Controlled Substances Act (CSA) makes
            punishable as a felony, i.e., by more than one year's imprisonment, see 18 U.S.C. §§
            924(c)(2), 3559(a)(5).

     Moncrieffe v. Holder, – U.S.–, 133 S.Ct. 1678, 1680, 185 L.Ed. 2d 727 (2013). In her motion,

     Defendant seeks to alter the terms of the judgment entered against her to modify the nature of her

     offense by adding the following language:




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              Distribution of controlled substance - Distribution of schedule IV prescription
              controlled substance by a pharmacist on the order of a physician other than for a
              legitimate medical purpose or outside the usual course of professional practice.
              Defendant was found Not Guilty of Count One - Drug Conspiracy in violation of Title
              21, United States Code, Section 846.

     (Doc. 1143, p. 3).

              As explained in the earlier Report (Doc. 1133), the relief sought is not a matter of right, but

     a matter of grace, and the Court has jurisdiction to grant such relief, under Rule 36, Fed. R. Crim.

     Procedure.1 As was the case with her co-Defendant’s similar motion, this Defendant is not seeking

     to change her sentence or to alter the fact of her conviction. Rather, Defendant urges the amendment

     of the Judgment to better reflect the precise nature of the crime she was charged with and convicted

     of.

              As alleged in the Second Superceding Indictment, Defendant Chebssi:

              “was a licensed pharmacist in Maryland who owned and operated Family Health
              Pharmacy in Maryland. CHEBBSI fulfilled "prescription" drug orders for Jive
              Network from in or about June 2004 through in or about March 2005.”

     (Doc. 279, ¶ 23). Defendant (along with other defendants) was charged with “aiding and abetting

     each other, knowingly and intentionally distributed and dispensed, and caused to be distributed and

     dispensed, quantities of Schedule III and Schedule IV Controlled Substances, . . . , other than for a

     legitimate medical purpose and not in the usual course of professional practice . . .” (Doc. 279, ¶ 78).

     The jury instructions track the language from C.F.R. 1306.04(a) (See Doc. 590, Jury Instruction 22 -

     noting “Title 21, United States Code, Section 841(a)(1), makes it a Federal crime or offense for

     anyone to distribute or dispense a controlled substance other than for a legitimate medical purpose

     and not in the usual course of professional practice.”). As noted, this Defendant, a pharmacist, was


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                “After giving any notice it considers appropriate, the court may at any time correct a clerical error in a judgment,
     order, or other part of the record, or correct an error in the record arising from oversight or omission.” Federal Rules of
     Criminal Procedure, Rule 36.

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     charged with distribution of a Schedule IV prescription controlled substance. Thus, this Court has

     no objection to the extent Defendant seeks the Judgment to reflect, under the section “Nature of

     Offense,” the following:

             Distribution of controlled substance - Distribution of Schedule IV prescription
             controlled substance by a pharmacist on the order of a physician other than for a
             legitimate medical purpose or outside the usual course of professional practice.

     Such an amendment is consistent with the language of the indictment, the jury instructions, and the

     verdict form (which references the indictment), and does not alter the Title and Section of the offenses

     Defendant was charged with and convicted under, nor does it change the sentence imposed. To the

     extent the language merely accurately reflects the nature of the charge and conviction, it falls within

     the “omission” scope of the Rule, and, as there is no prejudice shown, grace is the better part of valor

     here.

             Similarly, the verdict form reflects that Defendant was, indeed, found not guilty of the drug

     conspiracy count (Count1), but the acquittal is not included in the judgment. This, too, does not

     change the conviction or sentence with respect to the other counts and amending the judgment to

     indicate the acquittal as to this Count is accurate, corrects this omission, and seems harmless enough.

     The Court recommends inclusion of the following sentence: “Defendant was found Not Guilty of

     Count One - Drug Conspiracy in violation of Title 21, United States Code, Section 846."

             Finally, Defendant asserts that the holding of the Supreme Court in Moncrieffe can assist her

     in her immigration proceeding, as she believes that the decision supports her position that she was not

     adjudicated guilty of a generic trafficking offense. Defendant asserts that she understands that the

     applicability, if any, of Moncrieffe is well outside the scope of any legitimate Rule 36 concern and

     is a matter for the immigration authorities to decide. In order to be clear regarding the relief suggested

     here, the Court clarifies that, in recommending that the motion be granted, the Court does not imply


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     that it agrees with Defendant’s position with respect to her deportation proceedings. As such issues

     are not properly before this Court, nothing in this opinion should be construed as an endorsement in

     favor of, or against, any pending or contemplated immigration action. By recommending that the

     Judgement be amended to include additional, limited findings, the Court finds only that the

     amendments accurately reflect the record, do not substantively alter the conviction or sentence, and

     result in no prejudice to the Government.

            It is therefore respectfully recommended that the motion be granted, consistent with the

     foregoing.

            Failure to file written objections to the proposed findings and recommendations contained in

     this report within fourteen (14) days from the date of its filing shall bar an aggrieved party from

     attacking the factual findings on appeal.

            Respectfully recommended in Orlando, Florida on this 10th day of June, 2014.


                                                                  David A. Baker
                                                                 DAVID A. BAKER
                                                           UNITED STATES MAGISTRATE JUDGE

     Copies furnished to:

     Presiding District Judge
     Counsel of Record
     Unrepresented Parties
     Courtroom Deputy




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